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 7

 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10

11                                             Case No.
     ANTHONY BOUYER, an
12                                             Complaint For Damages And
13   individual,                               Injunctive Relief For:

14                     Plaintiff,               1. VIOLATIONS OF THE
15                                                 AMERICANS WITH DISABILITIES
     v.                                            ACT OF 1990, 42 U.S.C. §12181 et
16                                                 seq. as amended by the ADA
17                                                 Amendments Act of 2008 (P.L. 110-
     MOSS SHOPPING CENTER, LLC,
                                                   325).
18   a California limited liability
     company; and DOES 1-10, inclusive,
19                                              2. VIOLATIONS OF THE UNRUH
                                                   CIVIL RIGHTS ACT, CALIFORNIA
20                    Defendants.                  CIVIL CODE § 51 et seq.
21

22
           Plaintiff, ANTHONY BOUYER (“Plaintiff”), complains of Defendant MOSS
23
     SHOPPING CENTER, LLC, a California limited liability company; and Does 1-10
24
     (“Defendants”) and alleges as follows:
25
                                             PARTIES
26
           1.      Plaintiff is an adult California resident. Plaintiff is substantially limited
27
     in performing one or more major life activities because he is paraplegic, including,
28
     but not limited to: walking, standing, moving about, sitting, and driving. As a result
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                                            COMPLAINT
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 1   of these substantial limitations, Plaintiff requires the use of leg braces for mobility
 2   stability, a walker or wheelchair for mobility, and hand control devices to drive his
 3   motor vehicle. With such disabilities, Plaintiff qualifies as a member of a protected
 4   class under the Americans with Disabilities Act, 42 U.S.C. §12102(2) as amended
 5   by the ADA Amendments Act of 2008 (P.L. 110-325) (“ADA”) and the regulations
 6   implementing the ADA set forth at 28 C.F.R. §§ 36.101 et seq. Further, as is his
 7   routine, custom, and habit; Plaintiff travels while wearing leg braces for stability, a
 8   walker to ambulate from his driver’s seat to the rear of his vehicle where he stores
 9   his wheelchair, and then transfers to his wheelchair to further ambulate. At the time
10   of Plaintiff’s visits to Defendants’ facility and prior to instituting this action,
11   Plaintiff suffered from a “qualified disability” under the ADA, including those set
12   forth in this paragraph. Plaintiff is also the holder of a Disabled Person Parking
13   Placard.
14         2.     Plaintiff is informed and believes and thereon alleges that Defendant
15   MOSS SHOPPING CENTER, LLC, a California limited liability company, owned
16   the property located at 24270 Lyons Ave., CA, Santa Clarita 91321 (“Property”) on
17   or around September 19, 2020.
18         3.     Plaintiff is informed and believes and thereon alleges that Defendant
19   MOSS SHOPPING CENTER, LLC, a California limited liability company, owns
20   the Property currently.
21         4.     Plaintiff does not know the true name of Defendant, its business
22   capacity, its ownership connection to the Property serving Subway (“Business”), or
23   its relative responsibilities in causing the access violations herein complained of.
24   Plaintiff is informed and believes that each of the Defendants herein, including Does
25   1 through 10, inclusive, is responsible in some capacity for the events herein alleged,
26   or is a necessary party for obtaining appropriate relief. Plaintiff will seek leave to
27   amend when the true names, capacities, connections, and responsibilities of the
28   Defendants and Does 1 through 10, inclusive, are ascertained.
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                                            COMPLAINT
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 1                               JURISDICTION AND VENUE
 2          5.     This Court has subject matter jurisdiction over this action pursuant
 3   to 28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the ADA.
 4          6.     This court has supplemental jurisdiction over Plaintiff’s non-federal
 5   claims pursuant to 28 U.S.C. § 1367, because Plaintiff’s Unruh Civil Rights Act,
 6   California Civil Code § 51 et seq., (“UCRA”) claims are so related to Plaintiff’s
 7   federal ADA claims in that they have the same nucleus of operative facts and
 8   arising out of the same transactions, they form part of the same case or controversy
 9   under Article III of the United States Constitution.
10          7.     Venue is proper in this court pursuant to 28 U.S.C. §1391 because the
11   real property which is the subject of this action is located in this district and because
12   Plaintiff's causes of action arose in this district.
13                                FACTUAL ALLEGATIONS
14          8.     Plaintiff went to the Business on or about September 19, 2020 for the
15   dual purpose of purchasing a beverage and to confirm that this public place of
16   accommodation is accessible to persons with disabilities within the meaning federal
17   and state law.
18          9.     The Business is a facility open to the public, a place of public
19   accommodation, and a business establishment.
20          10.    Parking spaces are one of the facilities, privileges, and advantages
21   reserved by Defendants to persons at the Property serving the Business.
22          11.    Unfortunately, although parking spaces were one of the facilities
23   reserved for patrons, there were no designated parking spaces available for persons
24   with disabilities that complied with the 2010 Americans with Disabilities Act
25   Accessibility Guidelines (“ADAAG”) on September 19, 2020.
26          12.    At that time, instead of having architectural barrier free facilities for
27   patrons with disabilities, Defendants’ facility has barriers that include but are not
28   limited to: an accessible parking area whose slope exceeds ADAAG specifications
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                                             COMPLAINT
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 1   (Section 502.4); an accessible aisle that does not extend the full length of the parking
 2   space it serves (Section 502.3.2); and, railings positioned within the accessible
 3   parking area (Section 502.4).
 4         13.    Due to architectural barriers in violation of the ADA and ADAAG
 5   specifications, the parking, paths of travel, and demarcated accessible spaces at the
 6   Property are inaccessible.
 7         14.    Subject to the reservation of rights to assert further violations of law
 8   after a site inspection found infra, Plaintiff asserts there are additional ADA
 9   violations which affect him personally.
10         15.    Plaintiff is informed and believes and thereon alleges Defendants had
11   no policy or plan in place to make sure that there was compliant accessible parking
12   reserved for persons with disabilities prior to September 19, 2020.
13         16.    Plaintiff is informed and believes and thereon alleges Defendants have
14   no policy or plan in place to make sure that the designated disabled parking for
15   persons with disabilities comport with the ADAAG.
16         17.    Plaintiff personally encountered these barriers. The presence of these
17   barriers related to Plaintiff’s disability denies Plaintiff his right to enjoy accessible
18   conditions at public place of accommodation and invades legally cognizable
19   interests created under the ADA.
20         18.    The conditions identified supra in paragraph 12 are necessarily related
21   to Plaintiff’s legally recognized disability in that Plaintiff is substantially limited in
22   the major life activities of walking, standing, ambulating, and sitting; Plaintiff is the
23   holder of a disabled parking placard; and because the enumerated conditions relate
24   to the use of the accessible parking, relate to the slope and condition of the
25   accessible parking and accessible path to the accessible entrance, and relate to the
26   proximity of the accessible parking to the accessible entrance.
27         19.    As an individual with a mobility disability who relies upon a
28   wheelchair, Plaintiff has a keen interest in whether public accommodations have
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                                            COMPLAINT
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 1   architectural barriers that impede full accessibility to those accommodations by
 2   individuals with mobility impairments.
 3          20.      Plaintiff is being deterred from patronizing the Business and its
 4   accommodations on particular occasions, but intends to return to the Business for the
 5   dual purpose of availing himself of the goods and services offered to the public and
 6   to ensure that the Business ceases evading its responsibilities under federal and state
 7   law.
 8          21.      Upon being informed that the public place of accommodation has
 9   become fully and equally accessible, he will return within 45 days as a “tester” for
10   the purpose of confirming their accessibility. Civil Rights Educ. and Enforcement
11   Center v. Hospitality Props. Trust, 867 F.3d 1093, 1096 (9th Cir. 2017).
12          22.      As a result of his difficulty experienced because of the inaccessible
13   condition of the facilities of the Business, Plaintiff was denied full and equal access
14   to the Business and Property.
15          23.      The Defendants have failed to maintain in working and useable
16   conditions those features required to provide ready access to persons with
17   disabilities.
18          24.      The U.S. Department of Justice has emphasized the importance of
19   enforcing laws that prohibit unlawful discriminatory behavior, especially in the era
20   of the COVID-19 emergency. See Statement by Assistant Attorney General for Civil
21   Rights Eric S. Dreiband Protecting Civil Rights While Responding to the
22   Coronavirus Disease 2019 (COVID-19) found at
23   https://www.ada.gov/aag_covid_statement.pdf.
24          25.      The violations identified above are easily removed without much
25   difficulty or expense. They are the types of barriers identified by the Department of
26   Justice as presumably readily achievable to remove and, in fact, these barriers are
27   readily achievable to remove. Moreover, there are numerous alternative
28   accommodations that could be made to provide a greater level of access if complete
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                                             COMPLAINT
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 1   removal were not achievable.
 2         26.    Given the obvious and blatant violation alleged hereinabove, Plaintiff
 3   alleges, on information and belief, that there are other violations and barriers in the
 4   site that relate to his disability. Plaintiff will amend the complaint, to provide proper
 5   notice regarding the scope of this lawsuit, once he conducts a site inspection.
 6   However, the Defendants are on notice that the Plaintiff seeks to have all barriers
 7   related to his disability remedied. See Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008)
 8   (holding that once a plaintiff encounters one barrier at a site, the plaintiff can sue to
 9   have all barriers that relate to his disability removed regardless of whether he
10   personally encountered them).
11         27.    Without injunctive relief, Plaintiff will continue to be unable to fully
12   access Defendants’ facilities in violation of Plaintiff’s rights under the ADA.
13                               FIRST CAUSE OF ACTION
14   VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT OF 1990,
15     42 U.S.C. § 12181 et seq. as amended by the ADA Amendments Act of 2008
16                                        (P.L. 110-325)
17         28.    Plaintiff re-alleges and incorporates by reference all paragraphs alleged
18   above and each and every other paragraph in this Complaint necessary or helpful to
19   state this cause of action as though fully set forth herein.
20         29.    Under the ADA, it is an act of discrimination to fail to ensure that the
21   privileges, advantages, accommodations, facilities, goods, and services of any place
22   of public accommodation are offered on a full and equal basis by anyone who owns,
23   leases, or operates a place of public accommodation. See 42 U.S.C. § 12182(a).
24   Discrimination is defined, inter alia, as follows:
25                a.     A failure to make reasonable modifications in policies, practices,
26                       or procedures, when such modifications are necessary to afford
27                       goods, services, facilities, privileges, advantages, or
28                       accommodations to individuals with disabilities, unless the
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                                            COMPLAINT
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 1                       accommodation would work a fundamental alteration of those
 2                       services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
 3                b.     A failure to remove architectural barriers where such removal is
 4                       readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
 5                       defined by reference to the ADAAG, found at 28 C.F.R., Part 36,
 6                       Appendix "D".
 7                c.     A failure to make alterations in such a manner that, to the
 8                       maximum extent feasible, the altered portions of the facility are
 9                       readily accessible to and usable by individuals with disabilities,
10                       including individuals who use wheelchairs, or to ensure that, to
11                       the maximum extent feasible, the path of travel to the altered area
12                       and the bathrooms, telephones, and drinking fountains serving
13                       the area, are readily accessible to and usable by individuals with
14                       disabilities. 42 U.S.C. § 12183(a)(2).
15         30.    Any business that provides parking spaces must provide accessible
16   parking spaces. 2010 Standards § 208. Under the 2010 Standards, access aisles
17   shall be at the same level as the parking spaces they serve. Changes in level are not
18   permitted. 2010 Standards § 502.4. "Access aisles are required to be nearly level in
19   all directions to provide a surface for wheelchair transfer to and from vehicles." 2010
20   Standards § 502.4 Advisory. Here the failure to provide a level access aisle in the
21   designated disabled parking space is a violation of the law and excess slope angle in
22   the access pathway is a violation of the law.
23         31.    A public accommodation must maintain in operable working condition
24   those features of its facilities and equipment that are required to be readily accessible
25   to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
26         32.    Here, the failure to ensure that accessible facilities were available and
27   ready to be used by Plaintiff is a violation of law.
28         33.    Given its location and options, Plaintiff will continue to desire to
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                                           COMPLAINT
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 1   patronize the Business but he has been and will continue to be discriminated against
 2   due to lack of accessible facilities and, therefore, seeks injunctive relief to remove
 3   the barriers.
 4                               SECOND CAUSE OF ACTION
 5       VIOLATION OF THE UCRA, CALIFORNIA CIVIL CODE § 51 et seq.
 6         34.       Plaintiff re-alleges and incorporates by reference all paragraphs alleged
 7   above and each and every other paragraph in this Complaint necessary or helpful to
 8   state this cause of action as though fully set forth herein.
 9         35.       California Civil Code § 51 et seq. guarantees equal access for people
10   with disabilities to the accommodations, advantages, facilities, privileges, and
11   services of all business establishments of any kind whatsoever. Defendants are
12   systematically violating the UCRA, Civil Code § 51 et seq.
13         36.       Because Defendants violate Plaintiff’s rights under the ADA,
14   Defendants also violated the UCRA and are liable for damages. (Civ. Code § 51(f),
15   52(a).) These violations are ongoing.
16         37.       Plaintiff is informed and believes and thereon alleges that Defendants’
17   actions constitute discrimination against Plaintiff on the basis of a disability, in
18   violation of the UCRA, Civil Code § 51 et seq., because Defendants have been
19   previously put on actual or constructive notice that the Business is inaccessible to
20   Plaintiff. Despite this knowledge, Defendants maintain its premises in an
21   inaccessible form, and Defendants have failed to take actions to correct these
22   barriers.
23                                            PRAYER
24   WHEREFORE, Plaintiff prays that this court award damages provide relief as
25   follows:
26         1.        A preliminary and permanent injunction enjoining Defendants from
27   further violations of the ADA, 42 U.S.C. § 12181 et seq. as amended by the ADA
28   Amendments Act of 2008 (P.L. 110-325), and UCRA, Civil Code § 51 et seq. with
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                                             COMPLAINT
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 1   respect to its operation of the Business and Property; Note: Plaintiff is not invoking
 2   section 55, et seq, of the California Civil Code and is not seeking injunctive relief
 3   under the Disabled Persons Act (Cal. C.C. §54) at all.
 4         2.     An award of actual damages and statutory damages of not less than
 5   $4,000 per violation pursuant to § 52(a) of the California Civil Code;
 6         3.     An additional award of $4,000.00 as deterrence damages for each
 7   violation pursuant to Johnson v. Guedoir, 218 F. Supp. 3d 1096; 2016 U.S. Dist.
 8   LEXIS 150740 (USDC Cal, E.D. 2016); and,
 9         4.     For reasonable attorneys' fees, litigation expenses, and costs of suit,
10   pursuant to 42 U.S.C. § 12205; California Civil Code § 52.
11                               DEMAND FOR JURY TRIAL
12         Plaintiff hereby respectfully requests a trial by jury on all appropriate issues
13   raised in this Complaint.
14

15   Dated: January 15, 2021                 MANNING LAW, APC
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17                                    By: /s/ Joseph R. Manning Jr., Esq.
                                         Joseph R. Manning Jr., Esq.
18                                       Attorney for Plaintiff
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                                           COMPLAINT
